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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



ANGEL DE JESUS ZEPEDA RIVAS,                     CASE NO. 3:20-CV-02731-VC
BRENDA RUBI RUIZ TOVAR, LAWRENCE
KURIA MWAURA, LUCIANO GONZALO
MENDOZA JERONIMO, CORAIMA                        PLAINTIFFS’ REPLY
YARITZA SANCHEZ NUÑEZ, JAVIER                    MEMORANDUM IN SUPPORT OF
ALFARO, DUNG TUAN DANG, JUAN JOSE                ORDER TO SHOW CAUSE WHY
ERAZO HERRERA, RAJNISH RAJNISH, and              PRELIMINARY INJUNCTION
WILLIAN MATIAS RAUDA,                            SHOULD NOT BE ENTERED (ECF
                                                 NO. 500)

                   Petitioners-Plaintiffs,

v.

DAVID JENNINGS, Acting Director of the
San Francisco Field Office of U.S. Immigration
and Customs Enforcement; MATTHEW T.
ALBENCE, Deputy Director and Senior
Official Performing the Duties of the Director
of the U.S. Immigration and Customs
Enforcement; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; GEO GROUP,
INC.; NATHAN ALLEN, Warden of Mesa
Verde Detention Facility,

                   Respondents-Defendants.
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   I.      INTRODUCTION
        The history of this case powerfully proves the need for continuing injunctive relief.

        When the complaint was filed in April, Plaintiffs warned that they were being held under

dangerous conditions and that in the absence of Court intervention, a COVID-19 outbreak was

highly likely. Complaint, ECF 1, at ⁋⁋ 1, 8. Yet as the Court observed back in June, Defendants

responded to the pandemic with a mix of “obstinance,” “disinterest,” and “lack of dexterity;” they

took “some positions [on bail applications] that are downright irrational, not to mention

inhumane;” and they had made a significant misrepresentation of a material issue. Order Granting
Preliminary Injunction, 6/9/20, ECF 357 (“First PI”), at 3-5. Predictably, a major outbreak ensued

at Mesa Verde beginning in late July. About 60 percent of the detainees and more than one quarter

of the staff at Mesa Verde eventually tested positive.

        In light of the outbreak, the Court justifiably issued a second TRO on August 6, 2020, ECF

500 (“Second TRO”) that is the subject of this Order to Show Cause, and additional orders

requiring universal population and staff testing, ECF 561 & 577. It is true that due to this litigation

and the Court’s orders, conditions at Mesa Verde have improved. But these improvements “came

almost entirely from this litigation; ICE acted only because it was ordered to do so, or in response

to concerns raised by the Court or the plaintiffs during the proceedings.” First PI, ECF 357, at 3.

        Defendants now come before the Court suggesting that they have acted voluntarily to

improve conditions at Mesa Verde, and as a result, further oversight is unnecessary. The opposite

is true. Defendants have only acted when forced to do so. The evidentiary record leaves no doubt

that the Court’s assessment in the Second TRO remains valid today: that Defendants, “having

responded to the health crisis in such a cavalier fashion (even in the face of litigation and a string

of court orders), have … lost the right to be trusted that they will accomplish on their own what

the plaintiffs contend requires a court order to ensure.” Second TRO at 2.

        In the words of the late Justice Ruth Bader Ginsburg, Defendants’ proposal to now abandon

all judicial oversight “is like throwing away your umbrella in a rainstorm because you are not

getting wet.” Shelby County, Ala. v. Holder, 570 U.S. 529, 590 (Ginsburg, J., dissenting). The
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Court’s continuing direction is needed now as much as ever, as the nation’s public health experts

foresee a new wave of infections and deaths during the coming winter. A further preliminary

injunction (“Second PI”) should be granted in the form submitted by Plaintiffs.
   II.      STATEMENT OF FACTS
         Defendants have long known of the risk of a COVID outbreak at Mesa Verde. Documents

recently produced in discovery demonstrate that Defendants’ response to the pandemic made the

July outbreak inevitable and its spread rapid. Plaintiffs cannot hope to set forth here all of the

documents and testimony that paint a damning picture of Defendants’ cavalier pandemic response.
Rather, Plaintiffs first identify some of Defendants’ factual misrepresentations, and then discuss

additional evidence of Defendants’ failure to live up to their constitutional duty.

         A. Defendants’ Multiple Misrepresentations
            1. AFOD Alexander Pham’s false declaration about the quarantining of

transferee intakes. The Court is familiar with Assistant Field Office Director (“AFOD”) Pham’s

sworn misrepresentation that arriving transferees from facilities with reported COVID-19 cases

were “placed in isolation for 14 days prior to being released into the general population.” First PI,

ECF 357, at 5. This misrepresentation has never been explained.

            2. DFOD Erik Bonnar’s misleading declaration about the reasons for lack of

testing. On July 6, 2020, the Court expressly ordered Defendants to file declarations “explaining

what significant measures ICE and/or GEO have explored to improve the safety of conditions at
Mesa Verde and, if applicable, why those measures have not been taken.” ECF 421 (emphasis

added). In response, Deputy Field Office Director (“DFOD”) Bonnar declared under penalty of

perjury on July 10: “ICE has considered testing all detainees at MVDF for COVID-19. One issue,

however, is that significant numbers of detainees may not agree to testing.” ECF 429-1 (July 10

Bonnar Dec.) at ⁋ 9. DFOD Bonnar’s answer was misleadingly incomplete; in seeking to blame

subclass members for the lack of testing, he hid from the Court a more fundamental reason, which

was well-known to him and others within ICE and GEO: that ICE knew that it would have



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problems segregating detainees in the event of any significant number of positive tests. See

generally, Plaintiffs’ Notice of Motion and Motion for TRO, ECF 485 at 6-8; Second TRO, ECF

500, at 1; ECF 488-12, attached as Ex. 1 to MacLean Dec.

           3. Defendants’ false claim that they can properly isolate and segregate detainees.

Defendants have consistently asserted that “Mesa Verde has the capability to identify, isolate and

segregate detainees from each other.” E.g., ECF 37-1 (Apr. 24 Bonnar Dec.) ¶ 8; ECF 264-1 (May

27 Pham Dec.) ¶ 22. This is untrue. As the Court is aware, Mesa Verde’s configuration makes

isolation and cohorting of multiple class members, or of multiple cohort groups, impossible absent

the preservation of empty dormitories for this purpose, which Defendants had not undertaken at

the time these declarations were executed. Mesa Verde has four dormitories that previously held

up to 100 detainees each. The only areas suitable for housing detainees in isolation for more than

a few hours are five single-cell units – three Restricted Housing Units (RHUs) and two medical

isolation cells – and these are nearly always occupied. Ex. 2 to MacLean Dec. (Pham June 3 email)

(“All [isolation units] are currently occupied as is generally always the case.”).1

           4. Defendants’ false claim that they acted on their own to protect detainees.

Defendants repeatedly suggest that they instituted protective measures proactively and without

judicial intervention. See, e.g., Def. OSC Mem. at 2 (“Prior to the August 6 TRO, Defendants had

taken a number of measures to respond to COVID.”). This is misleading at best. As this Court

has recognized, “safety improvements [at Mesa Verde] came almost entirely from this litigation:

ICE acted only because it was ordered to do so, or in response to concerns raised by the Court or

the plaintiffs during these proceedings.” First PI, ECF 357 at 3. For example, nearly all of this

population reduction at Mesa Verde occurred after the filing of a complaint in this District on




1
 See also Ex. 3 to MacLean Dec. (Pham May 21 Management Conference Call Notes) (IHSC
guidelines would “constrain[] … housing resources”); Ex. 4 to MacLean Dec. (July 3 email from
Wellpath to ICE) (“[W]e do not have the ability to isolate any additional cases should we have a
positive on intake … Additionally, do not have the ability to cohort any cases…”).

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March 24, raising constitutional issues related to COVID-19 at Mesa Verde.2 Similarly, a

saturation testing plan circulated in May noted that bunks at Mesa Verde had been staggered “[d]ue

to recent ICE litigation.”3

           5. Defendants’ claim that they decided on their own to empty the women’s dorm.

Defendants claim that they independently decided on March 19 to empty the women’s dorm to

allow for greater social distancing. Def. OSC Mem. at 2 & ECF 786-8 (Bonnar Dec.) ¶ 8. This is

unsupported by the record. At the outset of this litigation, this Court identified Defendants’

continued detention of a significant number of women, many with limited criminal history, as

irrational in light of the risks associated with congregate facilities during the pandemic.4 In

extensive discussions with the Court concerning the women’s dorm, counsel for Defendants made

no mention of any prior decision to empty the women’s dorm.5 Federal Defendants opposed

numerous bail applications of detained women well into May, including of women not subject to

a mandatory detention statute. See, e.g., ECF 87-2, 88-2, 87-3, 103-2, 103-6, 104-1, 104-3, 104-4

(oppositions to bail applications, all subsequent to May 2). In fact, Defendants have admitted under

oath that the decision to release all of the remaining women from Mesa Verde was made on May

7 and was in response to litigation. ECF 166-1 (May 13 Pham Dec.) at ¶ 9 (“[A]s a result of the

temporary restraining order (‘TRO’) and habeas litigation in this case, ERO Bakersfield was

required to find ways to drastically reduce its population at MVDF. . . On May 7, 2020, ERO made

a decision to release all female detainees.”).


2
  See Bahena Ortuño v. Jennings, No. 20-cv-2064-MMC, ECF 25-3 (Bonnar Dec.) ¶ 7 (population
of 312 at Mesa Verde on March 30).
3
  See Ex. 5 to MacLean Dec. (“Saturation Testing Plan” sent from Allen to Baca on May 15).
4
  See, e.g., Apr. 28 CMC Tr. at 11:22-12:1, attached as Ex. 6 to MacLean Dec; May 1 CMC Tr. at
10:22-11:9, attached as Ex. 7 to MacLean Dec. (“I was just curious what’s going on with the
women and why are there so many women detained with no criminal history at all at this time.”)
5
  See Apr. 28 CMC Tr. at 12:11-21 (responding that ICE was “reducing the population where
individuals are not subject to mandatory detention”); May 1 CMC Tr. at 10:16-19 (responding that
ICE counsel had no further information about the women’s dorm). Likewise, in an April 25
declaration concerning population reduction measures at Mesa Verde, DFOD Bonnar made no
mention of any effort to clear out the women’s dorm. ECF 37-1 (Bonnar Dec.). If Defendants had
decided one month earlier to empty the women’s dorm, he surely would have said so.

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            6. Defendants’ misrepresentation of the distance between bunks. In an

interrogatory response verified by AFOD Pham, Federal Defendants stated that the distance

between the top and bottom bunks at Mesa Verde was 49 inches.6 The 49-inch height is critical to

Defendants’ representation that detainees were spaced at least six feet apart. ECF 264 at 13 (Def’s

Opp. to First PI Mtn.) (“While the distance between two adjacent occupied bunks is admittedly

less than six feet, the distance between the heads of two occupied bunks is over six feet.”). Mr.

Pham reiterated the measurement in a sworn declaration. ECF 264-1 (May 27 Pham Dec.) ¶ 40.

        However, during a recent video site visit, Defendants revealed (in response to Plaintiffs’

request for a measurement) that the distance is approximately 36 inches. This drastically impacts

the distance between detainees in the “top of one bunk to bottom of next bunk” sleeping

arrangement suggested by Defendants. Defendants would need to skip a bunkbed and alternate top

and bottom bunks in order for class members to have even five feet of distance between them.7

            7. Defendants’ claim that they cannot release persons subject to mandatory

detention. Despite consistently claiming they are unable to release such persons (e.g., Def. OSC

Mem. at 12-13), Defendants have repeatedly done so. See Declaration of Holly Cooper at ⁋⁋ 12-

18; Ex. 9 to MacLean Dec. (May 7 email listing releases); Ex. 10 to MacLean Dec. (May 8 email

listing releases).

            8. Defendants’ claimed compliance with CDC and ICE guidance. Defendants have

consistently justified their inaction by claiming compliance with guidance from the Centers for

Disease Control and Prevention (“CDC”) and ICE’s COVID-19 Pandemic Response

Requirements (“PRR”). See, e.g., Def. OSC Mem. at 2-4, 14. These claims are not supported.

Defendants have treated the CDC guidance as mere suggestions they are free to ignore if difficult

or inconvenient. See, e.g., ECF 264-1 (May 27 Pham Dec.) at ¶ 18 (“ICE endeavors to closely

follow the CDC Guidance where possible, and as recommended, makes adaptations according to

6
  ECF 229-20, Ex. A, Response to Interrogatory 1(f), at 2-3.
7
  This means that the current distance between a class member on a bottom bunk and one on the
neighboring top bunk is just over four feet. Ex. 8 to MacLean Dec., Greifinger Dep. 210
(referencing diagrams at ECF 229-19 (2d Supp. Greifinger Dec.) at 7-8).

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each facility’s spacing, population, and resources.”). Further, Defendants’ actual practices at Mesa

Verde have frequently deviated from CDC Guidance. For example, already in March, the CDC

was advising that correctional facilities suspend all transfers to and from other facilities “unless

necessary for medical evaluation, medical isolation/quarantine, care, extenuating security

concerns, or to prevent overcrowding” and that facilities “[e]nsure that physical locations … have

been identified to isolate confirmed COVID-19 cases and individuals displaying COVID-19

symptoms, and to quarantine known close contacts of cases … includ[ing] contingencies for

multiple locations if numerous cases and/or contacts are identified and require medical isolation

or quarantine simultaneously….”8 These steps were not taken at Mesa Verde.9 Defendants

continued to introduce new detainees and transfer detainees for reasons other than those recognized

as appropriate by the CDC.10 Defendants left symptomatic individuals in crowded dormitories and

failed to screen properly for symptoms.11 ICE’s own PRR were both inadequate and not

implemented at Mesa Verde.12

       B. The Predictable July Outbreak and Defendants’ Dangerous Response
       After deciding against saturation testing, Defendants ultimately chose a far more limited




8
   CDC, Interim Guidance on Management of Coronavirus Disease 2019 in Correctional and
Detention Facilities at 7, 10, attached as Ex. 11 to MacLean Dec. (hereinafter “CDC Correctional
Facilities Guidance”). The language cited here is from the March version which has since been
revised to emphasize even more the need for contingency planning and “separate physical
locations” for different cohorts. Id. at 6 (emphasis in original).
9
   Ex. 12 to MacLean Dec., Mull Dep. 45:11-46:15 (Acting AFOD responsible for liaising with
Warden Allen could not recall any contingency plans to account for limited capacity to isolate
detainees at Mesa Verde).
10
   See, e.g., ECF 474 (July 31 Joint CMC Statement) at 4 (Defendants increased intakes at Mesa
Verde, without a commensurate decrease in releases, immediately prior to the July outbreak).
11
   Defendants contend they identified zero detainees at Mesa Verde with COVID symptoms prior
to July 29. See ECF 264-1 (May 27 Pham Dec.) ¶ 27 (no detainees with symptoms). This conflicts
with medical records, class member declarations, and medical staff communications. See ECF
286-2 (MacLean Dec. to Pls.’ PI Reply) ¶¶ 2-8 (detainees with symptoms present in medical
records); Ex. 13 to MacLean Dec. (May 21-22 emails among Wellpath staff recognizing “a lot of
sick calls for body aches and sore throat”).
12
   See ECF 5-2 (Greifinger Dec.) ¶¶ 46-57.

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testing scheme—offering testing to all new arrivals.13 Defendants’ intake testing was flawed from

the start. They introduced most new arrivals immediately into the dorms if they declined to test14;

by the start of the July outbreak, one-half of the new arrivals had purportedly declined to test and

most were introduced into the general population anyway.15 Well aware of the risk, Defendants

brushed protective measures aside because of space constraints.16

        Defendants also did not have adequate space to accommodate newly arriving detainees

who tested positive or contacts of detainees testing positive who may themselves have been

exposed.17 Defendants refused to quarantine new arrivals, notwithstanding CDC, ICE and GEO

recommendations to do so.18 Given the incubation period of the virus and the traits of the test


13
   ECF 407 (Defs’ June 29 Joint Status Report); ECF 488-12 (ICE intra-office emails re “COVID-
19 Testing Operational Plan”).
14
   Detainees who refused testing were housed in the general population immediately unless they
were street arrests or transfers from local or county jail. Ex. 14 to MacLean Dec. (IHSC June 11
Email) (ICE Health Service Corps identified that facilities typically do not use point of care testing
for intakes due to “false negatives,” and wanted a plan for “those that test negative if [Mesa Verde]
do[es] not have cohorting capabilities”); Ex. 15 to MacLean Dec. (June 25 Intake Testing Plan)
(“Mesa Verde does not have the space to place multiple new intakes into a separate housing area
for 14-day monitoring”).
15
   Ex. 16 to MacLean Dec. (July 1 DFOD Bonnar Email) (“Three intakes since the Abbott was up
and running and all declined to be tested. Shows how the plan has a major flaw and doesn’t really
accomplish anything.”); Ex. 17 to MacLean Dec. (July 30 Mesa Verde Daily COVID Report)
(cumulative refusals: 26 of 52).
16
   See Ex. 18 to MacLean Dec. (Facility Administrator (“FA”) Allen identifies “a concern” about
“what to do with a detainee who refuses to be tested . . . as refusing the test is almost like a positive
test as it relates to separation and 14-day cohort”); Ex. 19 to MacLean Dec. (June 25 plan obliged
the transfer or release of incoming street arrestees who refused testing if there was insufficient
space for quarantine, but allowed the immediate introduction into the general population of other
new intakes).
17
   Ex. 20 to MacLean Dec. (AFOD Mull identifying as an issue: “[p]otential limited to no housing
for individuals who test positive…[N]ot only do we have to quarantine the individual, the entire
group must be quarantined and there may not be housing/cells available.”); ECF 407 (Defs’ Joint
Status Report) (six incoming contacts of COVID-positive detainee transferred to Adelanto
Detention Center July 1 because housing unavailable at Mesa Verde).
18
   ICE Health Service Corps has recommended intake quarantine since at least June. Ex. 21 to
MacLean Dec. (June 3 IHSC Guidance). The CDC has done the same since at least March. CDC
Correctional Facilities Guidance at 17 (“consider quarantining all new intakes for 14 days before
they enter the facility’s general population”). See also Exs. 22-23 to MacLean Dec. (April guidance
from GEO recommending intake quarantine consistent with CDC guidelines).

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Defendants used at intake, a negative result did not eliminate the risk that new arrivals were

introducing COVID into the facility. ECF 545-1 (Grubaugh Dec.) ¶¶ 32-33. Defendants were well

aware of this but ignored the risk.19 Defendants increased new intakes at Mesa Verde in the days

leading up to what ultimately became a devastating outbreak. ECF 474 (July 31 Joint CMC

Statement) at 4.

       Unsurprisingly, over the next three months, conditions worsened, culminating in an

outbreak that was as dramatic as it was preventable. Beginning in mid-June 2020, staff members

at Mesa Verde began testing positive for COVID-19.20 The positive results were sporadic at first,

but their frequency quickly increased.21 Yet Defendants did not offer testing for all staff, require

testing of staff who were close contacts, or have a policy to ensure that positive tests from staff

taken outside the facility were promptly acted upon, as documented by Plaintiffs in their Letter

Brief Regarding Staff Testing (ECF 545) and supporting exhibits.22

       In June and July, there were increasing COVID-19 outbreaks in California correctional

facilities, which were the transfer source for many new ICE intakes. Ex. 26 to MacLean Dec. Yet

Defendants still did not quarantine new arrivals even if they refused testing.

       Defendants soon reported the first positive COVID-19 tests of class members in the general

population at Mesa Verde, on July 29 and 31. ECF 527 (Becerra Dec.) ¶¶ 5, 7. Remarkably,

Defendants initially opposed testing class members in the affected dorm. ECF 474 (July 31 CMC

Statement) at 1-4; Ex. 27 to MacLean Dec. (Wellpath staff confirmed to IHSC on July 30 that


19
   Ex. 24 to MacLean Dec. (Wellpath May 21 email) (“releasing them to GP after a negative test
result will not ensure COVID-19 does not make it into the facility. This is due to the incubation
period … needed to trigger a positive COVID-19 test result.”); Ex. 14 to MacLean Dec. (IHSC:
“None of our facilities are using [point of care] testing for intakes”).
20
   Staff are one of the most common sources for the introduction of COVID into congregate
facilities. See ECF 487 (Greifinger Dec.) ¶ 20; ECF 545-1 (Grubaugh Dec.) ¶ 24. Defendants’ own
purported expert, Dr. Richard M. Medrano, agrees. See ECF 701-1 (Medrano Dec.) ¶ 7.
21
   See, e.g., ECF 393 (June 22 Def’s Status Report); ECF 407 (Def’s Status Report); ECF 474 (July
31 Joint CMC Statement) at 1 (at least 13 staff had tested positive by the start of the outbreak);
ECF 575 (GEO Status Report) at 2-3 (cumulatively 37 positive staff tests by Aug. 18).
22
   In August, in the middle of the outbreak, the policy still allowed asymptomatic close contacts
of COVID-infected people to come to work without testing. Ex. 25 to MacLean Dec.

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detainees in the affected dorm will not be offered testing but “will be monitored for symptom onset

over the next 14 days … per IHSC guidance”). Only in response to pressure from Plaintiffs and

under the threat of a court order did Defendants ultimately consent to regular testing of individuals

cohorted in the affected dorms.23

        Even then, Defendants refused to use point-of-care tests which produce immediate results

and would have allowed quick isolation of COVID-positive class members.24 Defendants justify

their refusal to use rapid tests as the crisis ballooned in part on their lack of sufficient tests. Def.

OSC Mem. at 5 n.2. But when they believed that the Court might compel their use, Defendants

were able to acquire sufficient rapid tests for the entire facility within one day.25 Defendants also

had authorization from ICE Headquarters by July 31 to use the test for “emergent situations,” but

refused to do so until compelled by the Court.26

        Defendants chose instead to send tests to laboratories for analysis even though they were

aware of the possibility of extensive delays.27 Even two days’ delay in a congregate dormitory can

lead to significant transmission. See ECF 545-1 (Grubaugh Dec.) ¶¶ 34-37. Yet for the second

affected dorm (Dorm C), Defendants waited four days after the identification of a positive test to




23
   ECF 474 (July 31 Joint CMC Statement) at 1-4; Ex. 28 of MacLean Dec. (DFOD Bonnar
authorized testing for all in Dorm B the evening after the first positive test following
communication with counsel, and reversing a prior position that the dorm would only be cohorted).
24
   ECF 545-1 (Grubaugh Dec.) ¶¶ 9(d), 9(i), 16-18, 34-37.
25
   See ECF 484-1 (Becerra Dec.) ¶ 10 (only 25 point-of-care tests onsite); ECF 491 (Court ordered
Defendants to investigate the possibility of acquiring additional tests); Ex. 29 to MacLean Dec.
(one day later, Acting DFOD Becerra acquired sufficient tests for the entire facility but expressed
an “intent” to not use the point-of-care test because the Court had not ordered it and to instead
store the tests).
26
   See Ex. 30 to MacLean Dec. (ICE Headquarters granted authorization to use point-of-care tests
for “special needed circumstances” July 31); Ex. 31 to MacLean Dec. (ICE refused to identify
the outbreak as an “emergent use” on Aug. 3: “case-by-case exception is not applicable”). But
see Ex. 32 to MacLean Dec., Becerra Dep. 169:64-172:16 (outbreak could be considered
“emergent use”).
27
   E.g., ECF 429-1 (July 10 Bonnar Dec.) at 3 n.3 (“Due to a backlog at the laboratory, staffing
and logistics involved in testing all detainees, it can take up to several weeks to obtain results.”)

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even offer testing to those in the dorm.28 The test results would take two weeks to return.29 When

they ultimately did, they revealed that eleven additional class members in the facility were already

positive in the earliest days of the outbreak.30 Because of Defendants’ lack of urgency and

contingency planning, these people would infect dozens of others in the subsequent days.31

       It had long been obvious that Mesa Verde’s structural constraints would cause a crisis when

there were more than a few positive tests. On July 31, Facility Administrator (“FA”) Allen told

ICE that he was “concerned about what happens if we get multiple positives and no way to isolate

or cohort,” and was “praying for negatives.”32 Yet Mesa Verde lacked a contingency plan and

sought to develop one only in the midst of the crisis, delaying any response and jeopardizing the

health of class members.33 Federal Defendants ultimately released one medically vulnerable

detainee to the hospital after he tested positive; with an increasingly dire shortage of space, Mesa




28
   Dorm C identified its first positive case on July 31, but Dorm C class members were not offered
a COVID test until August 4. Ex. 33 to MacLean Dec. (FA Aug. 2 email: “Do not do any testing
until further notice.”); Ex. 34 to MacLean Dec. (FA Allen Aug. 2 email) (“mass testing of C dorm
needs to be postponed until a plan can be approved by ICE and subsequently approved by GEO
leadership”).
29
   See ECF 535 (Allen Dec.) ¶ 3, ECF 580 (Def’s Aug. 19 Status Report) at 2 (results sent to the
lab on Aug. 4 were received on Aug. 18).
30
   ECF 580 (Def’s Aug. 19 Status Report) at 2-3.
31
   For the first affected dorm (Dorm B), results took three days, which is too long in a dormitory
setting. Plaintiff and Defendants’ experts agree that results need to be available within 24-48
hours to be meaningful. See ECF 545-1 (Grubaugh Dec.) ¶¶ 34-35; Ex. 36 to MacLean Dec.,
Henderson Dep. 69:4-70:8. These results revealed five more detainees were COVID-positive and
had likely infected others while awaiting their results. Ex. 35 to MacLean Dec. (five detainees
tested positive in Dorm B, but were in the dorm awaiting results for three days).
32
   Ex. 37 to MacLean Dec. (FA Allen July 30 email). See also Ex. 38 to MacLean Dec. (FA
Allen to AFOD Mull: “these are the issues we knew would happen if a positive population
case.”); Ex. 39 to MacLean Dec. (Wellpath Health Services Administrator: testing is “the easy
part. Isolation of any positive cases will be the challenge”).
33
   Ex. 40 to MacLean Dec. (“We definitely need a contingency plan in the event we have an
unexpected high number of positive cases.”); Ex. 41 to MacLean Dec. (FA Allen inquiring to
ICE “if there are issues with exceeding the 50 detainee per dorm (social distance – double bunks)
if/when we have to vacate a dorm”); Ex. 42 to MacLean Dec. (Aug. 3 plan considered housing
symptomatic detainees pending results with confirmed positives—though never implemented,
this would have all but guaranteed infection for the former).

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Verde simply had no place to house him.34 They sought to relocate detainees to other facilities, but

at least one potentially receiving facility recoiled at the risk of transmission.35 Defendants held

COVID-positive detainees in intake rooms not suitable for this purpose, and in contravention with

Federal Defendants’ own policy. Ex. 46 to MacLean Dec. (Becerra Aug. 3 Email) (“three detainees

(positive COVID-19) are currently in intake ... with cots”).

       Defendants ultimately isolated seven COVID-positive individuals in one dorm cleared for

that purpose. As a result, they were forced to cram 55 individuals who had been exposed to those

individuals into a single “cohort dorm” for COVID contacts. See ECF 498-1 (Aug. 5 Email from

Defense Counsel) at 3. Defendants knowingly left symptomatic class members in this crowded

cohort dorm where social distancing was impossible; at least three were COVID-positive by

August 4, but the results of these tests were not known for weeks.36 IHSC and Wellpath medical

advisors compromised medical recommendations in light of Mesa Verde’s space constraints.37

       The Mesa Verde cohort dormitory effectively became a case study for a COVID

superspreader event. Because of Defendants’ space constraints, lack of advance planning, failure

to maintain social distancing in the cohort dorm, and refusal to use rapid tests, approximately 90%

of the originally cohorted class members tested positive for COVID-19 in a matter of weeks.38


34
   Ex. 43 to MacLean Dec. (FA Allen Aug. 1 email) (“if he should be discharged we currently do
not have a place to isolate him”); Ex. 44 to MacLean Dec. (Becerra Aug. 1 email) (“concluded
that it’s in the best interest of the detainee and the agency to release Saeturn … based on the
exigent circumstance we are facing”). He was subject to mandatory detention and Defendants
had opposed his bail application. Ex. 32 to MacLean Dec., Becerra Dep. 254:8-255:24; ECF
139-2.
35
   Ex. 45 to MacLean Dec. (Becerra & Mull Aug. 1 emails re “Bed Space Inquiry”).
36
   Ex. 47 to MacLean Dec. (three “[persons under investigation]” in combined C dorm tested on
Aug. 3 “due to being symptomatic”); ECF 580 (Def’s Aug. 19 Status Report) at 2 (all three were
already COVID-positive on Aug. 4, but these results returned two weeks later).
37
   See Ex. 48 to MacLean Dec. (IHSC Aug. 4 email) (“up to the provider discretion” whether to
keep symptomatic detainees in combined cohort dorm; individual isolation will “amplif[y]”
“spatial limitations.”); Ex. 49 to MacLean Dec. (FA Aug. 1 Allen email) (Wellpath cautioned
against mixing two dorms, including symptomatic detainees, but recognized “space issues”
compelled it).
38
   See ECF 550 (Def’s Aug. 14 Status Report), ECF 551 (Pls’ Emergency Status Report) (32 new
positive tests—30 from the combined cohort dorm—on Aug. 14).

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       C. The Second TRO
       Plaintiffs filed their second Motion for Temporary Restraining Order (“Second TRO

Motion”) on August 4, 2020 (ECF 477-3). The Second TRO Motion, which led to issuance of the

Second TRO, serves as the opening brief for the instant proceeding. Defendants assert that they

“voluntarily” offered tests to all class members prior to the Court order. Def. OSC Mem. at 1. But

Wellpath’s records show that they conducted the testing only “because they said a lawyer was

going to put a restraining order on us or something by the morning so it needed to be done” – in

other words, under threat of a court order. Ex. 50 to MacLean Dec. (Wellpath Aug. 4 email).

       On the basis of this showing, in the Second TRO the Court ordered the Defendants to (1)

administer a rapid-results COVID-19 test weekly to all detainees; (2) continue to suspend

admission of new detainees; (3) continue to maintain a separate dormitory to segregate class

members who tested positive; (4) file detailed reports daily on the court docket; and (5) respond

promptly to reasonable requests from class counsel regarding safety conditions. ECF 500 at 2-3.

In subsequent minute orders, as the virus continued to spread in Mesa Verde, the Court also ordered

point-of-care testing for class members who had not already tested positive and weekly staff

testing. ECF 561; ECF 577.

       As of today—over five months after the Court’s initial preliminary injunction order—62

class members and dozens of staff members at Mesa Verde have tested positive for COVID-19.
ECF 580 (Def’s Aug. 19 Status Report), ECF 640 (Def’s Aug. 31 Status Report). At least four

detainees had medical emergencies that required hospital care. See ECF 591-6 (Keller Dec.). But

for this Court’s intervention, these numbers would have been far higher, and these outcomes might

have been far worse. Defendants’ inaction requires continuing oversight.
       D. The Last-Minute “Detainee Intake Procedures” Plan
       One working day before submitting their brief in this proceeding, and three months after

the July outbreak, Defendants promulgated new intake procedures in the event that the TRO

expires and intakes are permitted. ECF 786-10 (“Proposed Intake Procedures”).39 The Proposed

39
  Defendants only recently began to develop new procedures. Ex. 51 to MacLean Dec., Dep. Ex.
72 (Oct. 2 draft intake procedures).

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Intake Procedures would provide that all new intakes are offered a COVID test and placed in a

“routine 14-day quarantine” prior to being introduced into the general population.40 But as

Defendants recognize, their Proposed Intake Procedures leave many questions unanswered. Def.

OSC Mem. at 17 n.10. Defendants have not defined how many people could be either isolated or

quarantined together at intake or identified particular locations for intake quarantine. Ex. 32 to

MacLean Dep., Becerra Dep. 89:25-93:13, 207:16-208:12, 262:4-262:16. Defendants have also

delegated to the Facility Administrator the discretion to cohort individuals in groups (i.e., those

who refuse testing, those who are asymptomatic, and those who are symptomatic) and identify

where cohorts or individuals should be housed during this quarantine period. Id. at 158:19-160:17,

163:2-163:24, 168:2-169:9, 262:25-263:24. The Proposed Intake Procedures do not require such

cohorting, do not reserve space for isolation or cohorting, and do not detail any contingency

planning in the event of one or more symptomatic or COVID-positive class members. Id. at 173:5-

174:9, 100:9-100:21, 196:17-199:14. The apparent backup plan is an undefined transfer to another

facility despite the concomitant risks. Id. at 158:19-160:17, 163:2-24, 174:20-176:2.

       Dr. Akiko Iwasaki, a professor at the Yale University School of Medicine and an expert on

COVID-19 immunology, has reviewed Defendants’ latest plan and identified serious concerns

with it. Dr. Iwasaki’s “overarching concern” is the lack of dedicated spaces for isolation and

quarantine. Second Supplemental Iwasaki Dec. ¶ 13. That is because “positive COVID-19 tests,

symptomatic people, test refusers, and those with known exposures to COVID-19” must “be

separately housed, while symptomatic people (especially) and test refusers should be individually

housed for 14 days or until confirmatory testing shows them to be COVID-19 negative.” Id. Dr.

Iwasaki also has concerns about the plan apparently permitting group quarantine cohorts with no

exit testing, which could allow COVID-19 to spread into the general population. Id. ¶ 14. Other

problems include the failure to require individual isolation for symptomatic people, ambiguity

about how refusers will be housed, and ambiguity as to how people deemed too risky to be housed

40
  These protections do not apply to individuals deemed recovered from a COVID infection in
the past 90 days.

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at Mesa Verde will be transferred on to other facilities. Id. ¶¶ 15-17.

          Defendants have also testified that, despite past experience, they do not have a current plan

to continue to offer periodic universal testing to either class members or staff. Ex. 32 to MacLean

Dec., Becerra Dep. 151:6-21, 201:9-34 (class); 207:16-208:12 (staff).


   III.      ARGUMENT
          A. Plaintiffs Are Likely to Succeed on the Merits
             1. Defendants Have Failed To Provide Reasonable Health and Safety

          Under the Fifth Amendment, the Government violates its duty to provide reasonable health
and safety to people in its custody when it (1) makes an “intentional decision” to impose conditions

of confinement that (2) create “a substantial risk of … serious harm,” and (3) fails to “take

reasonable available measures to abate that risk, even though a reasonable official in the

circumstances would have appreciated the high degree of risk involved.” Hernandez Roman v.

Wolf, 977 F.3d 935, 943 (9th Cir. Oct. 13, 2020) (quoting Gordon v. County of Orange, 888 F.3d

1118, 1125 (9th Cir. 2018)). After correctly reciting this standard, however, Defendants incorrectly

cite to Toguchi v. Chung, 391 F.3d 1051, 1058 (9th Cir. 2004), and Hayes v. Williams, No. C-05-

00070 RMW, 2009 WL 3004037, at *4 (N.D. Cal. Sept. 15, 2009), which involve criminal custody

and apply the Eighth Amendment’s subjective deliberate indifference standard. See Def. OSC

Mem. at 9. In civil detention cases an objective standard applies: Defendants’ conduct must only

be “objectively unreasonable.” Roman, supra, citing Castro v. County of Los Angeles, 833 F.3d
1060, 1071 (9th Cir. 2016) (en banc); see also, Kingsley v. Hendrickson, 576 U.S. 389, 397 (2015).

          As shown above, Defendants made a series of “intentional decision[s]” at Mesa Verde that

made a viral outbreak inevitable. To summarize, Defendants:
       • Disregarded concerns that Mesa Verde did not have sufficient space to isolate
           symptomatic or infected class members. Defendants refused to set aside such space,
           even after all isolation rooms became full.
       • Rejected saturation testing proposals because of the insufficient space.
       • Refused to quarantine new arrivals, despite guidance from their own health
           professionals to do so, and despite a high number of new arrivals who declined to be
           tested and an awareness that the viral incubation period could lead to “false
           negatives” from the single point-of-care test they used at intake.

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       •   Refused to investigate or respond to increasing numbers of infections among staff,
           even though their own Regional Medical Director cited staff as the most likely vector
           to carry the virus into the facility.
       •   Refused to request additional point-of-care testing supplies, despite knowing that
           laboratory test results were unpredictable and often delayed.
       •   Delayed testing after discovering positive cases because they had no prearranged
           space to isolate new positive cases.
       •   Refused to use point-of-care tests on newly-symptomatic individuals in dorms
           affected by the outbreak. Defendants left these symptomatic individuals in congregate
           dormitories because they had no prearranged space to isolate them.
       •   Ignored medical advice from their own experts and combined two exposed dorms,
           including symptomatic class members in both.
       Not only would “[a]ny reasonable official under the circumstances,” have “appreciated the
high degree of risk involved,” Gordon, 888 F.3d at 1125, but Defendants did recognize that risk,

and failed to act. Ultimately, only under the pressure of litigation, Defendants took measures that

had been available to them for months. Now, they re-argue cases that the Court has previously

considered, and issues the Court has already decided. And the Ninth Circuit’s recent decision in

Hernandez Roman dispenses with those cases and arguments at the appellate level, finding that

the government “likely violated its constitutional duty to provide reasonably safe conditions to

Plaintiffs.” 977 F.3d at 943.41

           2. Defendants’ Conduct Amounts to Punishment

       The Fifth Amendment also prohibits the government from punishing individuals subject to

civil detention. A plaintiff need not show punitive intent to prevail. Rather, a “condition [of

confinement is punitive when it] is not reasonably related to a legitimate governmental objective

or is excessive in relation to the legitimate governmental objective.” Doe v. Kelly, 878 F.3d 710,

714 (9th Cir. 2017); see also Jones v. Blanas, 393 F.3d 918, 932 (9th Cir. 2004).

       Defendants argue, citing cases, that the government has “legitimate interests in detaining

individuals pending their removal proceedings.” Def. OSC Mem. at 17-18. But Jones makes clear

that due process requires further inquiry: if the conditions of confinement Defendants impose are



41
  The court in Roman distinguished decisions from other circuits, including Hope v. Warden,
972 F.3d 310 (3d Cir. 2020), upon which Defendants principally rely. 977 F.3d 935 at n. 5.

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unrelated to, or excessive in relation to those interests, they are unconstitutionally punitive. See

Jones, 393 F.3d at 932 (9th Cir. 2004).

        The conditions that Defendants imposed with respect to intake, testing and quarantine and

that led to and exacerbated the outbreak bear no relationship to Defendants’ interests in preventing

flight and promoting public safety, nor do Defendants make any effort to claim that they do.

Without question, though, the conditions Defendants created “cause[d] harm or disability that …

significantly exceed[ed] or [wa]s independent of the inherent discomforts of confinement”—

namely, infecting over half of the class members with COVID-19. See Doe, 878 F.3d at 714

(quoting Demery v. Arpaio, 378 F.3d 1020, 1029 (9th Cir. 2004)).

        B. An Injunction Is Necessary to Remedy the Cognizable Danger that Defendants
           Will Continue to Violate Plaintiffs’ Fifth Amendment Rights
        District courts have “broad power to restrain acts … whose commission in the future,

unless enjoined, may be fairly anticipated from the defendant’s conduct in the past.” Orantes-

Hernandez v. Thornburgh, 919 F.2d 549, 564 (9th Cir. 1990) (quoting N.L.R.B. v. Express

Publishing Co., 312 U.S. 426, 435 (1941)).42 When the factual record demonstrates a “cognizable

danger of recurrent violation,” a district court acts well within its authority in issuing an injunction.

See United States v. Laerdal Mfg. Corp., 73 F.3d 852, 855 (9th Cir. 1995). District courts consider

factors including a defendant’s knowledge of the violation, the frequency of violations, the

likelihood that the defendant’s characteristics might enable future violations, and “the sincerity of

any assurances against future violations.” Fed. Elec. Comm’n v. Furgatch, 869 F.2d 1256, 1263

n.5 (9th Cir. 1989). District courts should “question[] [a defendant’s] credibility with respect to

reforms introduced under protest or after the violation was discovered,” keeping in mind that



42
  Defendants cite Orantes for the proposition that “injunctive relief is designed to deter future
misdeeds, not to punish past misconduct.” Def. OSC Mem. at 8. The Orantes court, however,
actually held that “past misconduct” could provide powerful evidence to support the likelihood
of “future misdeeds.” There, a permanent injunction was upheld where a defendant’s “past and
present misconduct indicated a strong likelihood of future violations.” Orantes-Hernandez v.
Thornburgh, 919 F.2d 549, 564 (9th Cir. 1990).

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“[p]ast illegal conduct gives rise to an inference that future violations may occur.” Laerdal Mfg.

Corp., 73 F.3d at 857.

       The record here compels the conclusion that, absent court intervention, Defendants will

continue to act with deliberate indifference toward Plaintiffs’ health and safety. Defendants’

failures here are “recurrent” and plentiful. Since June, Defendants have been under court order “to

maintain, at a minimum, the status quo that currently exists as it relates to protection from

transmission of Covid-19 at [Mesa Verde].” First PI, ECF 357 at 12. In the months that followed,

as infection spread through facility staff and the correctional facilities and detention centers that

feed the Mesa Verde population, Defendants repeatedly refused to respond to the mounting safety

risk because doing so would force them to adjust their operations. See ECF 489-8 (May 26 email

re: staff testing), attached as Ex. 52 to MacLean Dec. Yet Defendants are “persistent[] in claiming

that (and acting as if) [their] conduct is blameless,” advancing arguments the Court has already

rejected; attempting to take credit for changes in conditions that were imposed on them; and

arguing that their hands are tied by immigration policy. Cf. Furgatch, 869 F.2d at 1263 n.5.

Defendants’ claim that they have no choice but to use all available space at Mesa Verde for

detention operations all but guarantees future outbreaks in the absence of an injunction.43

       The Proposed Intake Procedures undercut Defendants’ empty claim that they are “genuine

in their attempts to make additional improvements at Mesa Verde.” Def. OSC Mem. at 17. Rather,

they bolster the conclusion that Defendants’ only genuine desire is, as it has always been, to avoid

court intervention. While the Proposed Intake Procedures would restore Defendants’ ability to

increase the population at Mesa Verde, they would fail to remedy the fundamental structural issues


43
  Notably, Defendants’ position on the need to increase Mesa Verde’s intakes of “criminal aliens”
subject to mandatory detention, Def. OSC Mem. at 19, contradicts the latest version of their PRR,
which “discontinue[s]” transfers into ICE facilities from other jurisdictions with only limited
exceptions for “medical evaluation, medical isolation/quarantine, clinical care, extenuating
security concerns, release or removal, or to prevent overcrowding.” Because the exceptions do not
include a carveout related to mandatory detention, Mesa Verde is now severely restricted in
receiving future class members from carceral institutions. See Ex. 53 to MacLean Dec. (Oct. 28,
2020 PRR 5.0 at 27-28).

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that caused and exacerbated the outbreak: the lack of space to isolate class members who test

positive and the lack of testing to identify positive cases.44 Defendants do not advance any plans

that would continue proactive testing of the Mesa Verde population or staff.45 This is unsurprising,

given that once the Proposed Intake Procedures have been fully implemented, Defendants will

again have nowhere to house positive or even symptomatic class members. They present no plans

for how they could handle an outbreak differently than they did before.46

       While Defendants seek to restore Mesa Verde to the conditions that caused the outbreak,

they balk at a court order requiring them to reserve a specific space for isolating positive cases as

“micromanage[ment],” repeatedly citing the Ninth Circuit’s decision in Hernandez Roman for the

proposition that district courts should not intervene. See Def. OSC Mem. at 8, n.4, n.10. But in

Hernandez Roman, at the Ninth Circuit’s invitation, the district court entered an injunction

requiring Defendants to develop a specific plan to remedy the ongoing constitutional violations at

Adelanto, including weekly testing and population caps to ensure social distancing—much like the

plan Plaintiffs seek here. See, e.g., Hernandez Roman v. Wolf, No. 20-000768, 2020 WL 5797918,

* 6 (C.D. Cal. Sept. 29, 2020) (requiring testing and a plan to cap population); Hernandez Roman

v. Wolf, 2020 WL 6107069, *6-7 (C.D. Cal. Oct. 15, 2020) (implementing population cap and

setting isolation requirements). Far from discouraging courts to take the measures Plaintiffs

propose here, the Ninth Circuit held that “of course, the district court has authority to remedy a

constitutional violation by ordering measures that it determines are necessary to counter the spread

of an outbreak, including mandating medical isolation of detainees who have tested positive

for COVID-19 or who were likely exposed and are awaiting test results ….” 977 F.3d at 946

44
   See Ex. 32 to MacLean Dec., Becerra Dep. 140:16-142:11, 142:17-143:8, 262:1-23 (stating
that no plan to reserve space for cohort groups or isolation of COVID-positive individuals exists
at Mesa Verde).
45
   See Id. at 151:6-151:21, 201:9-203:4 (no plan to periodically test class members); 207:16-
208:12 (same for staff).
46
   The Acting Deputy Field Office Director responsible for Mesa Verde during the outbreak has
done no formal evaluation of the steps leading to the outbreak and has defended Defendants’
actions and failed to identify missteps. Id. at 238:13-239:13 (no evaluation); 260:1-261:25
(defending response).

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(emphasis added). In Mesa Verde, mandating isolation is meaningless without mandating where it

will take place, as Defendants have repeatedly proved unwilling to reserve such space themselves.

In this case, by failing to remedy the causes of the outbreak, the Proposed Intake Plan fails to

“bring the conditions to a constitutionally adequate level,” rendering further court intervention

necessary. Id.

        Defendants also offer a misleading, out-of-context citation to Gonzalez v. Ahern, 2020 WL

3470089 (N.D. Cal. June 25, 2020) for the proposition that the Constitution requires only that they

offer a plan to address COVID-19—regardless of its likelihood to address serious, known, safety

risks—and that this Court cannot review it “de novo.” Def. OSC Mem. at 17 n.10. But Gonzalez

involves a facility (the Santa Rita Jail) that was already the subject of separate COVID-related

litigation in which it was “being actively monitored by and cooperating with the [] court.” See

Gonzalez at *5-*6 (citing Babu v. Ahern, No. 5:18-cv-07677-NC (N.D. Cal.)). Gonzalez thus

stands for the proposition that where a court has already intervened in a facility, Plaintiffs should

first advance claims of further harm before that court. Id. at 6. This principle does not apply here.

        On this record, Defendants have not earned “the right to be trusted that they will accomplish

on their own what the plaintiffs contend requires a court order to ensure.” Second TRO, Dkt. 500

at 2. Rather, recent discovery confirms that Defendants’ few remedial actions in this case were

almost always taken at the eleventh hour and “under protest” and in an effort to stay this Court’s

hand.
        C. Absent an Injunction, Plaintiffs Face Irreparable Harm
        The irreparable harm that the Plaintiffs face without an injunction is clear: another

outbreak, detected late, and with no space to house symptomatic or positive class members. The

Proposed Intake Procedures, which offer no plan for testing class members already in the

population or addressing the likelihood of viral transmission by staff, and which are completely

divorced from the spatial limitations at Mesa Verde, wholly fail to address the fundamental safety

risks that the July outbreak brought into sharp contrast. Absent an injunction, Plaintiffs will be in




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the same position they were on the eve of the outbreak: detained in a facility with no meaningful

testing and no space to isolate anyone who, inevitably, becomes infected. 47
        D. The Equities Tip Sharply in Plaintiffs’ Favor
           This Court has already held that “[t]he conditions of confinement do not merely threaten

detainees; they also threaten facility staff, not to mention the greater community.” ECF 53 at 4.

That threat revealed itself in the recent outbreak; nearly 60% of class members and over 25% staff

contracted the virus, creating the potential for exposure among their families and throughout the

community. Defendants return to arguments that the need for immigration enforcement

categorically outweighs these serious public health concerns, even though this Court and the Ninth

Circuit have firmly rejected such arguments in the context of the pandemic. See Hernandez Roman,

977 F.3d at 944 (district court correctly held equities favored plaintiffs). Contrary to Defendants’

arguments (see Def. OSC Mem. at 19), Plaintiffs do not seek “an overbroad prohibition on intakes

or on ICE’s ability to use the housing capacity at Mesa Verde.” Instead, Plaintiffs seek injunctive

relief that permits ICE to resume enforcement action in Mesa Verde in a way that meaningfully

monitors the virus’ entry into the facility through testing and ensures that isolation space will be

available, so that ICE can follow its own guidelines when conducting testing.

           Defendants’ argument that the cost of operating Mesa Verde at reduced capacity tips the

equities in their favor borders on frivolous. Federal Defendants are, in essence, asking for relief
from the fact that their contract now pays GEO for work it does not do (see ECF 786-8 ¶ 7). “Faced

with … a conflict between financial concerns and preventable human suffering,” this court should

“have little difficulty concluding that the balance of hardships tips decidedly in plaintiffs’ favor.”

See Hernandez v. Sessions, 872 F.3d 976, 996 (9th Cir. 2017) (quotations omitted).


     IV.      PLAINTIFFS’ PROPOSED INJUNCTION IS NECESSARY TO PREVENT
              THE REINTRODUCTION AND SPREAD OF COVID-19 AT MESA VERDE


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  The risk of future harm is sufficient to warrant injunctive relief in a conditions case, see
Helling v. McKinney, 509 U.S. 25, 33. Of course, the Subclass here has already suffered the
harm of an outbreak.

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          Because Defendants’ track record demonstrates that they cannot be trusted to protect

subclass members, Defendants’ request to eliminate all injunctive relief regarding intake, testing,

and quarantine should be rejected. Moreover, Defendants’ newly developed intake plan—the latest

of Defendants’ eleventh-hour efforts to stave off injunctive relief—consists of soft guidance of the

kind that Defendants have routinely failed to adhere to in the past. The Court must establish clear

standards as articulated in the proposed Second PI to prevent another outbreak.

          As explained in detail below, the Second PI would allow Defendants to again add new

people to the Mesa Verde population in a manner consistent with the CDC’s and ICE’s own

COVID-19 guidance and with intake, testing and quarantine protocols designed to protect against

the reintroduction and spread of COVID-19. It is tailored to address the specific failures that led

to the July outbreak, and it includes many protections from the Second TRO and associated August

orders. Where appropriate, it incorporates features from Defendants’ proposed intake plan, and is

consistent with the testimony of both sides’ experts. As conditions have changed, the Second PI

appropriately narrows those orders by allowing certain intakes and reducing Defendants’

information-sharing requirements.
       A. Population Cap Per Dormitory
          The provision that limits the population in any dormitory by prohibiting Subclass members

from sleeping within six feet of each other (¶ 2.a) is supported by unanimous expert consensus. As
explained above, with the new measurements obtained through Dr. Greifinger’s virtual site visit,

it is now clear that subclass members must be staggered one full bed apart in order to maintain at

least six feet distance while sleeping.48

          Plaintiffs’ proposed population cap modifies only slightly the Court’s initial preliminary

injunction. For the week in which the Court ordered Defendants “to maintain … the status quo that

currently exists as it relates to protection from transmission of Covid-19,”ECF 357 at 12, Mesa

Verde had a reported population of 128 people. MacLean Dec. ¶ 2. Dividing that figure to account



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     Due to the current fixed-bunk configuration, this limits the population to 26 per dormitory.

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for the four dorms at Mesa Verde yields an average population per dormitory of 32 – slightly

higher than the capacity dictated by a six foot separation rule while sleeping.49
        B. Procedures for Preventing the Spread of COVID-19 Within Mesa Verde
       Plaintiffs’ proposed preliminary injunction also includes procedures for identifying

COVID-19 within Mesa Verde and stopping the spread of the disease should it again emerge there.

These include the maintenance of a dedicated dormitory for isolating those who test positive for

COVID-19 (the “Cohort Isolation Dormitory”) (¶ 2.b), procedures for isolating those who present

COVID-19 symptoms (¶ 2.c), universal and regular testing for those who have not been recently

infected (¶ 2.g), and procedures for quarantining those who test positive (¶ 2.d).

       Because Mesa Verde has only five available single-cell units for isolation, maintaining the

Cohort Isolation Dormitory is necessary to ensure that there will be isolation space available if

more than a few people test positive for COVID-19. See Second Supplemental Iwasaki Dec. ¶¶

13, 20. The difficulty of managing positive tests without such a dedicated space was a reason

Defendants refused to engage in population testing for COVID-19 in the first place. See ECF 485

at 7-8 (describing Defendants’ decision not to do population testing). Moreover, when the

inevitable outbreak hit Mesa Verde, the absence of a dedicated cohort dormitory provoked

Defendants to mix multiple dorms, exacerbating the outbreak. See ECF 550, 551. Even one of

Defendants’ identified medical experts recognizes the need for dedicated isolation and quarantine
spaces. Ex. 54 to MacLean Dec., Medrano Dep. at 251:3-10, 252:6-14).

       The Court should also require Defendants to isolate and test symptomatic subclass

members. Defendants have regularly failed to respond to COVID-19 symptoms over the course of

the pandemic. Compare Bonnar Dec. ¶ 8 (ECF 421-1) (explaining limited testing at Mesa Verde)

with Zepeda Rivas Dec. ¶¶ 27-28 (ECF 6-1) (fever, cough, shortness of breath); Ruiz Tovar Dec.



49
  A population cap also protects against reactive measures that do more harm than good. In the
midst of the Mesa Verde outbreak, Defendants combined two exposed dorms into a larger group
of 55, thereby preventing the people in that larger group from social distancing. The result was
that nearly everyone in the combined dorm contracted COVID-19. See ECF 550, 551.


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¶¶ 7-11 (ECF 6-2) (fever, cough, sore throat); Dang Dec. ¶ 7 (ECF 6-7) (cough). Moreover,

Plaintiffs’ proposal is supported by CDC guidance and ICE’s COVID-19 rules. Ex. 53 to MacLean

Dec., CDC Correctional Facilities Guidance (“individuals with COVID-19 symptoms … should

be placed under medical isolation immediately”); id. (“persons with symptoms are included in the

high-priority group for testing in CDC’s recommendations due to the high risk of transmission

within congregate settings”); Ex. 53 to MacLean Dec. (Oct. 28, 2020 PRR 5.0) at 16 (incorporating

CDC guidance).

       The Court should also order continued weekly population testing with a test that returns

rapid results so that Defendants can detect whether COVID-19 has entered Mesa Verde and can

respond before a new outbreak occurs. See ECF 545-1 (Grubaugh Dec.) at ¶ 9.c (“All detainees

should be tested every week as a safety net in case a SARS-Co V-2 introduction occurs.”). As Dr.

Grubaugh has explained, “In an environment where everyone or virtually everyone is tested, and

those who test positive are quickly isolated and there is effective contact tracing and quarantine, it

is possible to severely limit SARS-Co V-2 transmission.” Id. ¶ 20; see also Second Supplemental

Iwasaki Dec. ¶ 21.

       The Court should also require that those who test positive for COVID-19 be moved to the

Cohort Isolation Dormitory and that their contacts be tested with a point-of-care test. Defendants

cannot object to the concept of cohorting, as it is central to their own proposed plan. ECF 786-10.

Nor can they object to testing contacts, which one of their medical experts agrees is “an important

safety measure.” Ex. 54 to MacLean Dec. (Medrano Dep. at 249:18-21). Using a point-of-care test

in this context is necessary to prevent the type of chain transmission that allowed COVID-19 to

spread rapidly at Mesa Verde in July and August. See ECF 545-1 (Grubaugh Dec.) ¶¶ 34-37

(explaining importance of rapid tests to stop the chain of transmission in a congregate setting).
       C. Incoming Transfers and Intake Procedures
       While Plaintiffs acknowledge that Mesa Verde may now resume accepting new entrants,

that process should be carefully calibrated to prevent new entrants from introducing COVID-19




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into the facility. The [Proposed] Second PI thus allows only transfers into Mesa Verde that comply

with ICE’s own COVID-19 rules (¶ 2.e). As the operative version of ICE’s PRR states:

       Transfers of ICE detainees and non-ICE detained populations to and from other
       jurisdictions and facilities are discontinued unless necessary for medical evaluation,
       medical isolation/quarantine, clinical care, extenuating security concerns, release or
       removal, or to prevent overcrowding.
Ex. 53 to MacLean Dec. (Oct. 28, 2020 PRR 5.0 at 27-28).50 The CDC’s Correctional Facilities

Guidance endorses similar limits on transfers. See Ex. 11 to MacLean Dec.

       Once ICE has transferred a person into Mesa Verde for a valid reason, the intake provisions

would then protect against that person introducing COVID-19 into the facility (¶ 2.f). See Second

Supplemental Iwasaki Dec. ¶ 23. While parts of Plaintiffs’ intake screening and testing proposal

are similar to Defendants’ intake plan, Plaintiffs seek greater protections with respect to the intake

quarantine system. Defendants would leave intake quarantine decisions to the facility

administrator’s discretion. But given Mesa Verde’s layout, with only four dorms and five

individual cells, allowing Defendants to defer decisions on how and where to quarantine people

until problems arise invites the same problems that created and exacerbated the July outbreak.

       Plaintiffs thus include two options for housing people during the intake process. The first

option requires that intake quarantine occur through individual isolation, and is supported by

DFOD Bonnar and one of Defendants’ medical experts. Ex. 55 to MacLean Dec., Bonnar Dep.. at

242:2-243:5. The second option requires Defendants to develop a court-approved plan if they seek

to quarantine people in groups. Such a plan is necessary because, as explained in detail above, ICE

has been unable to explain in a variety of ways how its intake plan would work at Mesa Verde.
       D. Regular Staff Testing
       It is imperative to pair strong intake procedures with regular staff testing, given the role

staff play as a potential source through which COVID-19 could be introduced to Mesa Verde. Dr.


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   The PRR provides that “transfers for any other reason require pre-approval from the local
ERO Field Office Director.” Id. at 28. Plaintiffs are not opposed to incorporating this provision
into the order, so long as it cannot be used to authorize routine transfers, a result that would
nullify the PRR’s general prohibition against transfers.

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Grubaugh explains why it is necessary for staff at a facility like Mesa Verde to be universally

tested on a frequent basis using a test that returns results in no more than 24-48 hours. “In a ‘closed’

congregate environment—such as a detention center, prison, jail, nursing home … the most

significant vector for SARS-CoV-2 transmission is the introduction of outside personnel into the

closed space.” Grubaugh Dec. ¶ 24. Moreover, in a closed facility where “contact rates” between

staff and detainees are high “more frequent testing is necessary.” Id. ¶ 28.


    V.      CONCLUSION
         Defendants’ conduct throughout the course of this litigation demonstrates that the Second
PI proposed by Plaintiffs is necessary for the health and safety of the subclass members, and
should be ordered by the Court.


Dated: November 10, 2020                           Respectfully submitted,

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